                    Case 2:02-cr-00064-JAM Document 103 Filed 10/10/12 Page 1 of 3
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                    v.                                                    (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
        MARCUS JEROME MCGHEE, JR.
                      (Defendant’s Name)                                  Criminal Number: 2:02CR00064 -04


                                                                          DOUGLAS BEEVERS, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charge 1 as alleged in the violation petition filed on 8/23/2012 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Number                     Nature of Violation                                     Date Violation Occurred
1                                    FAILURE TO SUBMIT MONTHLY REPORTS                       6/5/12; 7/5/12; 8/5/12




The court [U] modifies (see page #3) and [U] continues under same conditions of supervision heretofore ordered on 1/27/2003 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge 2 is dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 9/18/2012
                                                                 Date of Im position of Sentence

                                                                 /s/ John A. Mendez
                                                                 Signature of Judicial Officer

                                                                 JOHN A. M ENDEZ, United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 10/10/2012
                                                                 Date
                     Case 2:02-cr-00064-JAM Document 103 Filed 10/10/12 Page 2 of 3
AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                2:02CR00064 -04                                                                           Judgment - Page 2 of 3
DEFENDANT:                  MARCUS JEROME MCGHEE, JR.


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release as previously ordered on 1/27/2003.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 2:02-cr-00064-JAM Document 103 Filed 10/10/12 Page 3 of 3
AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:              2:02CR00064 -04                                                           Judgment - Page 3 of 3
DEFENDANT:                MARCUS JEROME MCGHEE, JR.


                                 SPECIAL CONDITIONS OF SUPERVISION
         7. The defendant shall participate in a cognitive behavioral treatment program as directed by the
            probation officer.

         8.   The defendant shall be monitored for a period of 60 days, with location monitoring technology,
              which may include the use of radio frequency (RF) or Global Positioning System (GPS) devices,
              at the discretion of the probation officer. The defendant shall abide by all technology
              requirements and shall pay all or part of the costs of participation in the location monitoring
              program, as determined by the probation officer. In addition to other court-imposed conditions
              of release, the defendant’s movement in the community shall be restricted as follows: The
              defendant shall be restricted to his residence at all times except for employment; education;
              religious services; medical, substance abuse, or mental health treatment; attorney visits; court
              appearances; court-ordered obligations; or other activities as pre-approved by the probation
              officer.
